                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                                Civil No. 1:18-CV-00007-MR-DLH

                                                     )
TERI LYNN HINKLE,
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            ) DEFENDANT TRANS UNION
                                                     ) LLC’S ANSWER AND DEFENSES
EXPERIAN INFORMATION SOLUTIONS,                      ) TO PLAINTIFF’S COMPLAINT
INC., TRANS UNION LLC, and EQUIFAX,                  )
INC.,                                                )
                                                     )
                        Defendants.                  )

       COMES NOW, Trans Union LLC (“Trans Union”), one of the Defendants herein, and

files its Answer and Defenses to Plaintiff’s Complaint (“Complaint”) filed by Teri Lynn Hinkle

(“Plaintiff”). The paragraph numbers below correspond to the paragraph numbers contained in

Plaintiff’s Complaint to the extent possible.

                                        JURISDICTION

      1.       Trans Union admits that this Court is a United States District Court as defined in

15 U.S.C. § 1681p, but denies that Plaintiff has suffered a concrete injury and denies that this

Court has subject matter jurisdiction. Trans Union denies the remaining allegations contained in

paragraph 1 of the Complaint.

      2.       Trans Union denies the allegations contained in paragraph 2 of the Complaint.

                                            PARTIES

      3.       Trans Union admits that Plaintiff is a natural person. Trans Union is without

information or knowledge sufficient to form a belief as to the truth of the remaining allegations

contained in paragraph 3 of the Complaint and, therefore, denies same.

      4.       Trans Union is without information or knowledge sufficient to form a belief as to


                                                1
      Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 1 of 10
the truth of the allegations contained in paragraph 4 of the Complaint and, therefore, denies

same.

        5.    Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 5 of the Complaint and, therefore, denies

same.

        6.    Trans Union admits that it is a limited liability company organized under the laws

of the State of Delaware with its principal place of business located in Chicago, Illinois. Trans

Union admits that it is a "consumer reporting agency" as defined by the Fair Credit Reporting

Act, 15 U.S.C. § 1681a(f).

                                            VENUE

        7.    Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 7 of the Complaint and, therefore, denies

same.

        8.    Trans Union admits that venue is proper in this Court.

                                GENERAL ALLEGATIONS

        9.    Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 9 of the Complaint and, therefore, denies

same.

        10.   Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 10 of the Complaint and, therefore, denies

same.

        11.   Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 11 of the Complaint and, therefore, denies



                                               2
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 2 of 10
same.

        12.    Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 12 of the Complaint and, therefore, denies

same.

        13.    Trans Union admits that on September 29, 2017, it received correspondence from

Plaintiff, dated September 26, 2017 requesting a copy of her consumer file.

        14.    Trans Union admits that on October 5, 2017, it sent Plaintiff a letter requesting

proof of her current mailing address. To the extent not specifically admitted, Trans Union denies

the remainder of paragraph 14 of the Complaint.

        15.    Trans Union admits that Plaintiff’s correspondence dated September 26, 2017

included specific provisions of the FCRA. As to the other Defendants, Trans Union is without

information or knowledge sufficient to form a belief as to the truth of the allegations contained in

paragraph 15 of the Complaint, or the authenticity of Exhibit 1, and, therefore, denies same.

        16.    Trans Union admits the allegations contained in paragraph 16 of the Complaint.

As to the other Defendants, Trans Union is without information or knowledge sufficient to form

a belief as to the truth of the allegations contained in paragraph 16 of the Complaint and,

therefore, denies same.

        17.    Trans Union admits that on October 17, 2017, it received correspondence from

Plaintiff, dated October 14, 2017, requesting a copy of her consumer file. Trans Union also

admits that Plaintiff’s correspondence included copies of her social security card and driver’s

license. As to the other Defendants, Trans Union is without information or knowledge sufficient

to form a belief as to the truth of the allegations contained in paragraph 17 of the Complaint, or

the authenticity of Exhibit 2, and, therefore, denies same.



                                                 3
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 3 of 10
        18.   Trans Union admits that Plaintiff did not request a “credit report.” As to the other

Defendants, Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 18 of the Complaint and, therefore, denies

same.

        19.   Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 19 of the Complaint and, therefore, denies

same.

        20.   Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 20 of the Complaint and, therefore, denies

same.

        21.   Trans Union admits that on October 18, 2017, it sent Plaintiff a letter requesting

proof of her current mailing address. To the extent not specifically admitted, Trans Union denies

the remainder of paragraph 21 of the Complaint.

        22.   Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 22 of the Complaint and, therefore, denies

same.

        23.   Trans denies the allegations contained in paragraph 23 of the Complaint.

        24.   Trans Union denies reporting false or misleading information on Plaintiff’s Trans

Union credit file. Trans Union is without information or knowledge sufficient to form a belief as

to the truth of the remaining allegations contained in paragraph 24 of the Complaint and,

therefore, denies same.

        25.   Trans Union denies the allegations contained in paragraph 25 of the Complaint.

        26.   Trans Union denies that it illegally concealed information from Plaintiff. Trans



                                               4
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 4 of 10
Union denies the allegations contained in paragraph 26 of the Complaint.

        27.    Trans Union denies the allegations contained in paragraph 27 of the Complaint.

As to the other Defendants, Trans Union is without information or knowledge sufficient to form

a belief as to the truth of the allegations contained in paragraph 27 of the Complaint and,

therefore, denies same.

        28.    Trans Union denies the allegations contained in paragraph 28 of the Complaint.

        29.    Trans Union denies that it violated the FCRA.             Trans Union is without

information or knowledge sufficient to form a belief as to the truth of the allegations contained in

paragraph 29 of the Complaint and, therefore, denies same. As to the other Defendants, Trans

Union is without information or knowledge sufficient to form a belief as to the truth of the

allegations contained in paragraph 29 of the Complaint and, therefore, denies same.

        30.    Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 30 of the Complaint and, therefore, denies

same.

                                            COUNT I

 VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL
  NON-COMPLIANCE BY DEFENDANT EXPERIAN INFORMATION SOLUTIONS
                               INC.

        31.    Trans Union restates and incorporates its responses to paragraphs 1 – 30 above as

though fully stated herein.

        32.    Trans Union admits that Plaintiff is a consumer as defined in 15 U.S.C. § 1681

a(c).

        33.    Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 33 of the Complaint and, therefore, denies

same.

                                                 5
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 5 of 10
        34.     Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 34 of the Complaint and, therefore, denies

same.

         Trans Union is without information or knowledge sufficient to form a belief as to the

truth of the allegations contained in the prayer paragraph of Count I of the Complaint and,

therefore, denies same.

                                           COUNT II

 VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL
         NON-COMPLIANCE BY DEFENDANT TRANS UNION LLC

        35.     Trans Union restates and incorporates its responses to paragraphs 1 – 34 above as

though fully stated herein.

        36.     Trans Union admits that Plaintiff is a consumer as defined in 15 U.S.C. § 1681

a(c).

        37.     Trans Union admits that it is a "consumer reporting agency" as defined by the Fair

Credit Reporting Act, 15 U.S.C. § 1681a(f).

        38.     Trans Union denies the allegations contained in paragraph 38 of the Complaint.

         Trans Union denies the relief sought in the prayer paragraph of Count II of the

Complaint.

                                           COUNT III

 VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. §1681, WILLFUL
           NON-COMPLIANCE BY DEFENDANT EQUIFAX, INC.

        39.     Trans Union restates and incorporates its responses to paragraphs 1 – 38 above as

though fully stated herein.

        40.     Trans Union admits that Plaintiff is a consumer as defined in 15 U.S.C. § 1681

a(c).

                                                6
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 6 of 10
        41.     Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 41 of the Complaint and, therefore, denies

same.

        42.     Trans Union is without information or knowledge sufficient to form a belief as to

the truth of the allegations contained in paragraph 42 of the Complaint and, therefore, denies

same.

         Trans Union is without information or knowledge sufficient to form a belief as to the

truth of the allegations contained in the prayer paragraph of Count III of the Complaint and,

therefore, denies same.

                               DEMAND FOR TRIAL BY JURY

         Trans Union admits that Plaintiff demands a trial by jury.

                                            DEFENSES

        43.     Plaintiff has failed to state a claim against Trans Union upon which relief can be

granted.

        44.     At all relevant times, Trans Union maintained and followed reasonable

procedures to avoid violations of the FCRA and assure maximum possible accuracy of the

information concerning Plaintiff in preparing consumer reports related to Plaintiff.

        45.     Trans Union alleges that any alleged damages to Plaintiff, which Trans Union

continues to deny, are the result of the acts or omissions of Plaintiff or others, over whom Trans

Union has no control and for whom Trans Union has no responsibility.

        46.     Trans Union at all times acted in compliance with the FCRA.

        47.     Trans Union has not published any false, inaccurate or defamatory information to

a third-party regarding Plaintiff and has not acted with negligence, malice, actual malice, or



                                                  7
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 7 of 10
willful intent to injure.

        48.     Any statement made by Trans Union regarding Plaintiff was true or substantially

true.

        49.     Plaintiff failed to mitigate her alleged damages.

        50.     Plaintiff’s claims for exemplary or punitive damages and the FCRA damage

model violate the Due Process Clause of the Fourteenth Amendment and the laws of the State of

North Carolina.

        51.     Trans Union affirmatively pleads that it is entitled to attorney’s fees in the event

that the Court determines that the Plaintiff has filed an unsuccessful pleading, motion, or other

paper in connection with this action under Section 1681n or 1681o of the FCRA in bad faith or

for purposes of harassment.

        52.     Any alleged damages to Plaintiff, which Trans Union continues to deny, were

caused in whole or in part by an intervening or superseding cause.

        53.     Plaintiff lacks standing to assert the claims alleged in this action against Trans

Union.

        54.     The Court lacks subject matter jurisdiction over the claims asserted in this action

against Trans Union.

        55.     In the interest of justice, Trans Union may seek to transfer this matter pursuant to

28 U.S.C. § 1404, as this Court is not the most convenient venue for the parties and witnesses.

         WHEREFORE, PREMISES CONSIDERED, Defendant Trans Union LLC, respectfully

requests that this Honorable Court deny the relief requested in Plaintiff’s Complaint, dismiss the

action in its entirety, grant Trans Union its costs of suit and expenses incurred herein, including

reasonable attorneys’ fees, and for such other and further relief as the court deems just.



                                                  8
        Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 8 of 10
Respectfully submitted,

This 7th day of March, 2018.

                                     YOUNG MOORE AND HENDERSON, P.A.

                               BY:   /s/ Kelly S. Brown
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                                       9
Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 9 of 10
                               CERTIFICATE OF SERVICE

       This is to certify that on March 7, 2018, a true and correct copy of the above and

foregoing document has been electronically filed with the Clerk of the Court using the CM/ECF

system which will send notification of such filing to the following CM/ECF participants:

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                                              10
     Case 1:18-cv-00007-MR-DLH Document 21 Filed 03/07/18 Page 10 of 10
